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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                          CASE NO: 1:16-CV-20031-WILLIAMS/SIMONTON

   DANIELLA TRIVINO,

            Plaintiff,
   v.

   JVC FRANCO 2, LLC, d/b/a JUAN VALDEZ CAFÉ,
   and NICOLA BRANCIFORTE,

         Defendants.
   _____________________________________________/

          ORDER OF DISMISSAL WITH PREJUDICE OF PLAINTIFF’S COMPLAINT

            THIS CAUSE came before the Court on the Parties’ Joint Motion for Approval of

   Settlement of FLSA Claim and Stipulation for Dismissal of Complaint with Prejudice, and the

   Court, having considered same, having reviewed the file, and being otherwise advised in the

   premises, it is hereby ORDERED AND ADJUDGED:

            1.      The settlement of Plaintiff’s FLSA Claims are fair and reasonable.

            2.      The settlement of Plaintiff’s FLSA Claims are hereby APPROVED.

            3.      This case is DISMISSED with prejudice; and,

            4.      Any and all pending motions are hereby DENIED AS MOOT.

            DONE AND ORDERED in Chambers, at Miami, Florida this ____ day of April, 2016.




                                                         KATHLEEN M. WILLIAMS
                                                         UNITED STATES DISTRICT JUDGE
   cc:      all counsel




   {38037412;1}
